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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



SANDRA WHITE, on behalf of
JORDAN WHITE
68 Bryn Mawr Ave.,
Lansdowne, PA 19050

                     Plaintiff,                Case No.___________________

v.

MEDTRONIC, INC.                                COMPLAINT
710 Medtronic Parkway,
Minneapolis, Minnesota 55432;                  JURY TRIAL DEMANDED

MEDTRONIC
NEUROMODULATION,
a division of Medtronic, Inc.
7000 Central Avenue NE,
Fridley, Minnesota 55432;

MEDTRONIC PUERTO RICO
OPERATIONS, INC.;
Ceiba Norte Industrial Park Road 31, Km. 24,
HM 4 Call Box 4070,
Junco 00777-4070, Puerto Rico;

and
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MEDTRONIC LOGISTICS, LLC,
710 Medtronic Parkway,
Minneapolis, Minnesota 55432

                         Defendants.



       COMES NOW, Plaintiff Sandra White, on behalf of Jordan White, by and through her

undersigned attorneys, and hereby files this Complaint against the above-named Defendants,

Medtronic, Inc.; Medtronic Neuromodulation, a division of Medtronic, Inc.; Medtronic Puerto

Rico Operations, Inc.; and Medtronic Logistics, LLC (collectively “Defendants” or

“Medtronic”), and states and alleges as follows:

                                       I.   INTRODUCTION

       1.       This is a products liability action seeking damages for personal injuries sustained

by Jordan White arising from his use of a defective product designed, manufactured, labeled, and

distributed, or otherwise placed into the stream of commerce by Defendants and/or each of them.

As set forth herein, Mr. White suffered severe and permanent injuries and hospitalization as a

foreseeable, direct and proximate result of defects in his Medtronic SynchroMed® II

Programmable Implantable Infusion Pump System for intrathecal drug delivery, which were

implanted in his abdomen. Sandra White, in her capacity as Durable Power Attorney for her son,

Jordan White, brings this action on behalf of Jordan White to recover for the damages caused by

Defendants’ conduct.

                   II.       THE PARTIES, JURISDICTION, AND VENUE

       2.       Plaintiff Sandra White is a citizen of Pennsylvania and resides in Lansdowne,

Pennsylvania.    Sandra White is the natural parent of Jordan White and Durable Power of




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